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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF PENNSYLVANIA

CHANNA NEWMAN,                                      )
                                                    )
                        Plaintiff,                  )   2:20-cv-00204
                                                    )
                                v.                  )   Chief Judge Mark R. Hornak
                                                    )
POINT PARK UNIVERSITY,                              )
                                                    )
                        Defendant.                  )


                           INITIAL CASE MANAGEMENT ORDER

       AND NOW, this 17th day of June, 2022, it is hereby ORDERED that the parties comply

with the following:

       1.       Local Rule 16.1: This civil action is governed by Local Rule of Civil Procedure

16.1 – Pretrial Procedures.

       2.       Settlement Negotiations: Counsel for the parties shall confer with their clients

and any involved insurance carriers before all case management, status, or pretrial conferences to

obtain authority to participate in settlement negotiations conducted by the Court. A client’s

representative/insurance carrier representative shall be available by phone for any such

conference. If a party anticipates potentially relying upon an insurance carrier to satisfy all or

part of any settlement or award, a representative of the insurance carrier(s) who possesses full,

unilateral settlement authority shall be available to participate in all case management

conferences, status conferences, and settlement negotiations, including ADR sessions, either in-

person or via telephone.




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3.       Initial Scheduling: The parties shall comply with the following deadlines:

         a)      Disclosures pursuant to Fed. R. Civ. P. 26(a) shall be made on or before

June 21, 2022.

         b)      Additional parties will be joined in this matter on or before July 7, 2022.

         c)      Pleadings shall be amended by July 7, 2022.

         d)      Fact discovery shall be completed on or before December 3, 2022. The

Court may extend the discovery deadline upon a showing of good cause and upon a

motion filed prior to the expiration of such deadline. The motion shall: (i) specifically

state all discovery completed to date and to be conducted if the extension is granted; (ii)

contain a showing of good cause for the requested extension; (iii) list any previous

extensions of discovery; and (iv) attach a proposed order which establishes specifically

the extended closure date being requested and setting forth the discovery to be conducted.

         e)      Deadlines to produce expert reports, and deposition of such experts, shall

be held in abeyance pending a post-fact-discovery status conference.

         f)      Pretrial motions relating to discovery or this Order shall be filed on or

before the last day of the applicable discovery deadline. This deadline does not apply to

motions to extend discovery, motions to compel discovery, motions in limine, motions

for summary judgment, or other pretrial motions.

                 Responses to motions relating to discovery or this Order shall be filed

within seven (7) days from the date of service of the motion. The Court frequently

resolves such motions by telephone conference, which the parties may also request. The

Court may also schedule a telephone conference before the time runs for any response. In




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       such a case, the non-moving party is excused from filing a response; instead, said party

       should be prepared to state its position at the telephone conference.

                      Replies to such responses shall be filed seven (7) days from the date of

       service of the response. Replies may be filed without leave of the Court. Surreplies shall

       not be filed without leave of the Court obtained in advance. For further information

       regarding general motions practice, please see the “Chambers’ Rules” website available

       from the United States District Court for the Western District of Pennsylvania’s

       homepage.

       4.       Alternative Dispute Resolution (ADR): The parties are advised to comply with

all ADR requirements pursuant to Local Rule of Civil Procedure 16.2. The parties are directed to

promptly schedule and file the notice of the ADR proceeding. A representative of any insurance

carrier which may be responsible, in whole or in part, for any portion of the claims alleged and

who has full, unilateral settlement authority must attend any ADR proceeding in person if

insurance proceeds could cover any portion of a settlement or verdict. ADR should conclude on

or before July 14, 2022.

       5.       Procedures Following Inadvertent or Other Disclosure (“Clawback”):

Pursuant to Local Rule LCvR 16.1(D), and to aid in the implementation of Fed. R. Evid. 502, the

following is ordered in the event of a disclosure of any privileged or trial preparation/attorney

work product material:

                a)    The producing party shall promptly notify all receiving parties of the

       inadvertent production of any privileged or trial preparation material. Any receiving party

       who has reasonable cause to believe that it has received privileged or trial preparation

       material shall promptly notify the producing party.




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                    b)       Upon receiving notice of such production, any receiving party shall

           immediately retrieve all copies of the disclosed material and sequester such material

           pending a resolution of the producing party’s claim either by the Court or by agreement

           of the parties.

                    c)       If the parties cannot agree as to the claim of privilege or protected status,

           the producing party shall move the Court for a resolution within thirty (30) days of the

           notice set forth in subparagraph (a). Nothing herein shall be construed to prevent a

           receiving party from moving the court for a resolution, but such motion must be made

           within the thirty-day period.

                    d)       Pursuant to Fed. R. Evid. 502(d), no disclosure connected to this litigation

           shall act as a waiver in any proceeding of any otherwise applicable privilege or protection

           unless so ordered by this Court. An Order implementing Fed. R. Evid. 502(d) will be

           entered.

           6.       Discovery and Other Case Management Disputes: In the Court’s experience,

many discovery and case management disputes can be promptly resolved in a conference with

the Court and counsel. Therefore, in the event of such a dispute, lead counsel shall confer in

person or by telephone, agree on the scope and nature of the dispute, and then contact the

involved law clerk or the Courtroom Deputy to request a telephone status conference. The Court

will usually either conduct the conference immediately, or set such a conference to occur within

twenty-four (24) hours, and more often than not, the dispute will be resolved at that time. The

Court may, in situations involving more substantive matters, direct counsel to file the appropriate

motion for relief. The Court will conduct a status conference at any time at the request of the

parties.




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       7.       Other Deadlines/Post-Discovery Status Conference: Any future telephonic

status conferences, including, as appropriate, after the Court receives the report of mediation,

will be set by further Order of the Court.




                                             s/ Mark R. Hornak
                                             Mark R. Hornak
                                             Chief United States District Judge

cc:    All counsel of record




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